        Case:
         Case 22-1320   Document:
              5:21-cv-00590-JLS   11-1 Page:
                                Document     1
                                         77 Filed Date Filed:Page
                                                  07/13/22    07/13/2022
                                                                  1 of 2




CLD-176                                               June 16, 2022
      UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                     C.A. No. 22-1320

MIGUELINA PENA, INDIVIDUALLY AND AS INDEPENDENT
ADMINISTRATOR OF THE ESTATE OF RICARDO MUNOZ, DECEASED

      v.

CITY OF LANCASTER, a municipal corporation; JARRAD BERKIHISER, in his
individual and official capacity as Chief of Police for the CITY OF LANCASTER;
KARSON ARNOLD, in his individual and official capacity as police officer for the
CITY OF LANCASTER; COUNTY OF LANCASTER, PENNSYLVANIA;
UNKNOWN POLICE OFFICERS

      STANLEY J. CATERBONE, Appellant*

      *(Pursuant to Fed. R. App. P. 12(a))

      (E.D. Pa. Civ. No. 5-21-cv-00590)

Present: AMBRO, SHWARTZ and BIBAS, Circuit Judges

      Submitted are

             (1)   Appellant’s document in support of appeal;

             (2)   By the Clerk for possible dismissal pursuant to 28 U.S.C.
                   § 1915(e)(2)(B) or summary action pursuant to Third Circuit LAR
                   27.4 and I.O.P. 10.6;

             (3)   Appellant’s response; and

             (4)   By the Clerk for possible dismissal due to a jurisdictional defect

      in the above-captioned case.

                                                        Respectfully,

                                                        Clerk



                                             1
        Case:
         Case 22-1320   Document:
              5:21-cv-00590-JLS   11-1 Page:
                                Document     2
                                         77 Filed Date Filed:Page
                                                  07/13/22    07/13/2022
                                                                  2 of 2




________________________________ORDER_________________________________
       This appeal is dismissed for lack of jurisdiction. Appellant appeals from an order
denying his motion to participate as amicus. Such orders are not reviewable. See United
States v. Brooker, 976 F.3d 228, 238 n.6 (2d Cir. 2020).

                                                          By the Court,

                                                          s/Stephanos Bibas
                                                          Circuit Judge

Dated: July 13, 2022
JK/cc: Stanley J. Caterbone
All Counsel of Record




                                                A True Copy:



                                             Patricia S. Dodszuweit, Clerk
                                             Certified Order Issued in Lieu of Mandate




                                            2
